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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------X
                                                              :
 MOHAMMED QUADIR,                                             :
                                                              :
                                              Plaintiff,      :
                            -v-                               :     13-CV-3327 (JPO)
                                                              :
 NEW YORK STATE DEPARTMENT OF                                 :   OPINION AND ORDER
 LABOR,                                                       :
                                                              :
                                              Defendant. :
                                                              :
 ------------------------------------------------------------ X

J. PAUL OETKEN, District Judge:

        Plaintiff Mohammed Quadir brings this action against his employer, the New York State

Department of Labor (the “Department”), alleging that the Department failed to make reasonable

workplace accommodations for his disability, took adverse employment actions against him

because of that disability, and retaliated against him for complaining about disability

discrimination, all in violation of the Rehabilitation Act of 1973. The Department moves for

summary judgment on all claims. (Dkt. No. 105.) For the reasons that follow, the Department’s

motion is granted.

I.      Background

        The following facts are undisputed unless otherwise noted. The Department of Labor

operates facilities in communities around New York State to assist job seekers with résumé

writing, job matching, interview training, and other services. (Dkt. No. 129 ¶ 1.) Quadir is

employed by the Department as a Labor Services Representative—a person who works directly

with customers, individually or in group settings—at the Department’s Bronx Career Center.

(Id. ¶¶ 1-2.)



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        In his role as a Labor Services Representative, Quadir regularly taught “workshops”—

presentations to groups of customers. 1 On February 2, 2011, Quadir submitted a request for a

reasonable accommodation asking that he be “exempt from duties requiring [him] to stand for

any considerable length of time” because he was suffering from lightheadedness, fatigue, and

other symptoms. (Id. ¶ 8.) Quadir asked for an exemption to last “for the time being while [he]

tr[ied] to ascertain the nature of [the] illness.” (Id.) Because teaching workshops ordinarily

requires prolonged standing, the Department temporarily exempted Quadir from workshop

teaching duties as a result of his request. (Id. ¶ 9.)

        As is detailed more fully below, Quadir continued to request extensions of his exemption

from workshop teaching duties and the Department continued to grant these extensions until

February 14, 2012, a little over a year following the initial request. (Id. ¶¶ 18-19.) On that date,

the Department declined to offer Quadir the specific accommodation he requested—exemption

from all workshop duties—but extended him an alternative accommodation. (Id. ¶ 18.)

Specifically, the Department offered Quadir “suitable equipment (high chair and lectern/podium)

and rooms to conduct workshop [sic] while sitting down,” an accommodation designed to

“address [Quadir’s] need to not have prolonged standing work duties.” (Dkt. No. 110-20 at 3-4.)

        Following the Department’s determination, Quadir filed a complaint with the New York

State Division of Human Rights. (See Dkt. No. 2.) Although his request to be exempt from all

workshop teaching duties was denied, the parties agree that Quadir has not taught any workshops

since 2011. (Dkt. No. 129 ¶ 21.)




1
  The parties dispute whether all Labor Services Representatives at the Bronx Career Center were
required to teach workshops, but the Court need not resolve this issue in order to decide the
present motion. (See Dkt. No. 129 ¶¶ 5-6.)
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       Quadir, acting pro se, initiated this action by filing the Complaint on May 16, 2013, and

an Amended Complaint on May 31, 2013. (Dkt. Nos. 2, 5.) He contends that the failure to grant

his sought-after accommodation gives rise to a claim for failure to make reasonable

accommodations under the Rehabilitation Act. He also argues that, in the wake of his request to

be exempt from workshop teaching duties, the Department discriminated against him on the

basis of his disability and retaliated against him for exercising his rights.

         The Department subsequently moved to dismiss the Amended Complaint. (Dkt. No.

14.) On August 19, 2014, the Court granted in part and denied in part the Department’s motion

to dismiss, determining that Quadir had plausibly stated claims for reasonable accommodation,

discrimination, and retaliation under the Rehabilitation Act. (Dkt. No. 54.) On September 18,

2014, counsel appeared on Quadir’s behalf and he ceased prosecuting this case pro se. (Dkt.

Nos. 65, 66.)

       The Department now moves for summary judgment on all of Quadir’s remaining claims.

(Dkt. No. 105.)

II.    Discussion

       Summary judgment is appropriate when “there is no genuine dispute as to any material

fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56. A fact is

material if it “might affect the outcome of the suit under the governing law.” Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A dispute is genuine if, considering the record as

a whole, a rational jury could find in favor of the non-moving party. Ricci v. DeStefano, 557

U.S. 557, 586 (2009) (citing Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574,

586-87 (1986)).




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       A.      Reasonable Accommodation

       The Rehabilitation Act provides that “[n]o otherwise qualified individual with a disability

in the United States . . . shall, solely by reason of her or his disability, be excluded from

participation in, be denied the benefits of, or be subjected to discrimination under any program or

activity receiving Federal financial assistance.” 29 U.S.C. § 794(a). “Apart from the

Rehabilitation Act’s limitation to denials of benefits ‘solely’ by reason of disability and its reach

of only federally funded—as opposed to ‘public’—entities, these provisions purport to impose

precisely the same requirements” as the Americans with Disabilities Act (ADA) and are

analyzed under the same legal standards. See Cercpac v. Health & Hosps. Corp., 147 F.3d 165,

167 (2d Cir. 1998). The ADA requires employers to make “reasonable accommodations to the

known physical or mental limitations of an otherwise qualified [employee], unless [the

employer] can demonstrate that the accommodation would impose an undue hardship on the

operation of the [its] business.” 42 U.S.C. § 12112(b)(5)(A). Similarly, regulations promulgated

under the Rehabilitation Act by the Department of Health and Human Services require recipients

of federal funds to “‘make reasonable accommodation to the known physical or mental

limitations of an otherwise qualified handicapped . . . employee unless the recipient can

demonstrate that the accommodation would impose an undue hardship on the operation of its

program.’” Lyons v. Legal Aid Soc’y, 68 F.3d 1512, 1515 (2d Cir. 1995) (alteration in original)

(quoting 45 C.F.R. § 84.12(a)).

       An employee suing for failure to make reasonable accommodations must establish four

elements to make a prima facie case: that “(1) [the] plaintiff is a person with a disability under

the meaning of the [Act]; (2) an employer covered by the statute had notice of his disability; (3)

with reasonable accommodation, [the] plaintiff could perform the essential functions of the job at



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issue; and (4) the employer has refused to make such accommodations.” Rodal v. Anesthesia

Grp. of Onondaga, P.C., 369 F.3d 113, 118 (2d Cir. 2004). After this prima facie case is

established, an employer can defeat such a claim if it shows “(1) that making a reasonable

accommodation would cause it hardship, and (2) that the hardship would be undue.” Mitchell v.

Washingtonville Cent. Sch. Dist., 190 F.3d 1, 6 (2d Cir. 1999) (citing Borkowski v. Valley Cent.

Sch. Dist., 63 F.3d 131, 138 (2d Cir.1995)). “Although a public entity must make ‘reasonable

accommodations,’ it does not have to provide a disabled individual with every accommodation

he requests or the accommodation of his choice.” McElwee v. Cty. of Orange, 700 F.3d 635, 641

(2d Cir. 2012) (citing Fink v. N.Y.C. Dep't of Personnel, 53 F.3d 565, 567 (2d Cir.1995)).

       Quadir contends that he informed the Department that he was unable to teach

workshops—on account of a disability that prevented him from standing for a prolonged period

of time, projecting his voice, or concentrating when dealing with more than one person at a

time—and that the Department failed to accommodate this request. (Dkt. No. 140.) It is true

that the Department did not grant Quadir’s request to be exempt from all workshop

responsibilities. However, the evidence demonstrates that Quadir only provided the Department

with medical documentation supporting his need to be exempt from prolonged standing and

“considerable physical exertion.” The Department extended Quadir an accommodation that

would have addressed these issues. In other words, the Department did not “refuse” to

accommodate Quadir’s documented disability. Rodal, 369 F.3d at 118. Rather, it adopted the

only concrete accommodation suggested by Quadir’s doctors: an exemption from prolonged

standing. Because there is no genuine dispute that the Department extended Quadir the




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accommodation suggested by Quadir’s doctors and thereby addressed his documented disability,

Defendants are entitled to summary judgment on Quadir’s failure to accommodate claim. 2

       A review of the evidence confirms that Quadir provided the Department with medical

documentation outlining his need for an exemption from prolonged standing and “considerable

physical exertion.” (See Dkt. No. 110-18 at 2.) Quadir’s February 2, 2011, request for an

accommodation asked that he be “exempt from duties requiring [him] to stand for any

considerable length of time.” (Dkt. No. 110-9.) This request included a note from a Dr. Kini

concluding that it “could be medically necessary [for Quadir] to not stand for long periods of

time to avoid falls.” (Id. at 3.) Quadir contends that he also submitted a medical note dated

January 28, 2011, from a Dr. Sindwhani requesting that Quadir “be excused from public

speaking,” but Quadir has not offered the note for the Court’s review or cited any evidence to

support his claim that such a note was forwarded to the Department. (See Dkt. No. 129 ¶ 7; Dkt.

No. 140 at 2.) Following his February 2, 2011 request, the Department temporarily exempted

Quadir from teaching workshops. (Dkt. No. 129 ¶ 9.)

       In April 2011, Quadir requested an extension of this temporary accommodation. (Dkt.

No. 110-10.) Specifically, Quadir asked “[t]o be exempt from all standing work duties” and

assigned “only desk-bound/sedentary work . . . .” (Id. at 5.) The request included a note from a

Dr. Gulati, who asked that Quadir be “excuse[d] . . . from prolonged standing.” (Id. at 9.)




2
  There is an additional impediment to Quadir’s claim. As Quadir concedes, he has not taught
any workshops since his initial request for accommodation. (Dkt. No. 129 ¶ 21.) Indeed, the
Department has not so much as asked Quadir to conduct a workshop in that time. (Id.; Dkt. No.
140 at 14.) In other words, Quadir has received his requested accommodation. See Garvin v.
Potter, 367 F. Supp. 2d 548, 563 (S.D.N.Y. 2005) (defendant did not fail to reasonably
accommodate plaintiff’s need to be exempt from overtime duty where the “defendant never
required the plaintiff to work overtime . . . .”).
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        Subsequently, the Department requested additional medical documentation in support of

Quadir’s request to be exempt from all workshop duties. (Dkt. No. 110-11.) In response, he

provided a doctor’s note dated May 27, 2011, which asked that Quadir be excused from

“prolonged standing for the next 3 months” because he was suffering from headaches, vertigo,

and difficulty concentrating. (Dkt. No. 129 ¶ 12; see Dkt. No. 110-12.) On July 20, 2011, the

Department informed Quadir that his temporary accommodation would be extended through

August 27, 2011, at which time he would be expected to make a new request or submit medical

information to support continued accommodation. (Dkt. No. 129 ¶ 13.)

        On August 22, 2011, Quadir requested a second extension of his temporary

accommodation and submitted in support of his request a doctor’s note asking that he be excused

from prolonged standing for four months. (Id. ¶ 14.) The next day, the Department informed

Quadir that his accommodation was extended through December 29, 2011. (Id. ¶ 15.)

        On December 20, 2011, Quadir requested a third extension of his temporary

accommodation. (Id. ¶ 16.) A note from Dr. Naveed Iqbal accompanied the request. It stated

that Quadir had been diagnosed with “Major Depressive Disorder” and asked that Quadir be

excused from “prolonged standing work duties or any activity requiring considerable physical

exertion . . . for at least four months.” (Id. ¶ 17.)

        On February 14, 2012, the Department informed Quadir that it was denying his request to

be exempt from all workshop teaching duties, but that the Department would provide Quadir

with an alternative accommodation tailored to his documented needs. (Id. ¶¶ 18, 19.)

Specifically, the Department offered Quadir “suitable equipment (high chair and lectern/podium)

and rooms to conduct workshop [sic] while sitting down,” an accommodation that would

“address [Quadir’s] need to not have prolonged standing work duties.” (Dkt. No. 110-20 at 3-4.)



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       Because Quadir provided medical documentation asking only that he be excused from

prolonged standing and activities involving “considerable physical exertion,” and the

Department granted an accommodation that would have addressed both issues, it cannot be said

that the Department “refused” to accommodate Quadir’s documented disability. 3 Rodal, 369

F.3d at 118. Quadir has failed to offer evidence showing any nexus between his desired

accommodation—a total exemption from workshop teaching duties—and his documented needs.

For instance, Quadir has not offered evidence that he submitted a January 28, 2011, from a Dr.

Sindwhani asking that Quadir be exempt from public speaking. 4 Accordingly, the Department

is entitled to summary judgment on Quadir’s reasonable accommodation claim.

       B.      Discrimination

       Quadir also contends that the Department intentionally discriminated against him because

of his disability. Because intentional discrimination is rarely so open as to be reflected in direct



3
  The Department was well within its rights when it asked for medical documentation of
Quadir’s disability in evaluating his request. “As a part of the interactive process, the [employer
is] entitled to request that [the employee] provide documentation of his disability and the
appropriate accommodations for that disability.” Zito v. Donahoe, 915 F. Supp. 2d 440, 448
(S.D.N.Y. 2012); see Gard v. United States Dep’t of Educ., No. 11-5020, 2011 WL 2148585, at
*1 (D.C. Cir. May 25, 2011) (per curiam) (“[A]pellant’s failure to provide updated medical
information when reasonably requested is fatal to his failure to accommodate claim.”);
Monterroso v. Sullivan & Cromwell, LLP, 591 F. Supp. 2d 567, 579 (S.D.N.Y. 2008) (“An
employee’s provision of medical information is an indispensable aspect of that interactive
process and where an employee fails to provide documentation sufficient to allow an employer to
assess the parameters of the employee’s disability, ‘ADA liability simply does not follow.’”
(quoting Beck v. Univ. of Wisc. Bd. of Regents, 75 F.3d 1130, 1137 (7th Cir. 1996))).
4
  Similarly, Quadir, while proceeding pro se at an earlier stage of this litigation, attached to his
complaint a doctor’s note from Dr. Iqbal dated April 1, 2012, which stated that Quadir should be
excused from “prolonged standing work duties as well as any activity requiring considerable
exertion. This includes group instruction assignments standing or sitting without the use of a
lectern.” (See Dkt. No. 5-7 at 1.) However, Quadir does not argue that the note was submitted to
the Department for its consideration or otherwise cite the note in support of his opposition to the
Department’s motion for summary judgment. Any argument based on the note is, accordingly,
waived.
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proof, a plaintiff is required only to provide four circumstantial elements to make out a prima

facie Rehabilitation Act discrimination claim: “(1) plaintiff’s employer is subject to the

[Rehabilitation Act]; (2) plaintiff was disabled within the meaning of the [Rehabilitation Act];

(3) plaintiff was otherwise qualified to perform the essential functions of her job, with or without

reasonable accommodation; and (4) plaintiff suffered an adverse employment action because of

her disability.” Jacques v. DiMarzio, Inc., 386 F.3d 192, 198 (2d Cir. 2004) (alterations and

citation omitted). Once a plaintiff establishes these elements, the “burden then shifts to the

employer to ‘articulate some legitimate, nondiscriminatory reason’ for” its action. Vega v.

Hempstead Union Free Sch. Dist., 801 F.3d 72, 83 (2d Cir. 2015) (quoting McDonnell Douglas

Corp. v. Green, 411 U.S. 792, 802 (1973)); see Hodges v. Holder, 547 F. App’x 6, 8 (2d Cir.

2013) (“Intentional discrimination claims pursuant to the Rehabilitation Act are subject to the

burden-shifting analysis originally established by the Supreme Court in McDonnell Douglas . . .

.”). To prevail, the “plaintiff must then produce evidence and carry the burden of persuasion that

the proffered reason is a pretext.” McBride v. BIC Consumer Prods. Mfg. Co., 583 F.3d 92, 96

(2d Cir. 2009) (citation and internal quotation marks omitted); Hodges, 547 F. App’x at 8.

       The Department does not quibble with the first three of elements of Quadir’s prima facie

case. Instead, it argues that Quadir has not shown that he suffered an adverse employment action

because of his disability.

       An “adverse employment action” entails a “materially adverse change in the terms and

conditions of employment.” Sanders v. New York City Human Res. Admin., 361 F.3d 749, 755

(2d Cir. 2004) (emphasis added) (citation and internal quotation marks omitted). To show a

materially adverse action, the relevant change in conditions of employment “must be more

disruptive than a mere inconvenience or an alteration of job responsibilities. Examples of such a



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change include termination of employment, a demotion evidenced by a decrease in wage or

salary, a less distinguished title, a material loss of benefits, [or] significantly diminished material

responsibilities . . . .” Id. at 755 (citations and internal quotation marks omitted).

       Because Quadir did not suffer an adverse employment action, the Department is entitled

to summary judgment on his discrimination claim. Quadir suggests that the Department took

nine distinct actions against him that rise to the level of adverse employment actions, which he

separates into six categories: (1) counseling memos; (2) the annual evaluation; (3) the 2013-2014

evaluation; (4) a denial of pay for President’s Day in 2014; (5) a denial of leave time; and (6) the

placement of Quadir on “full restrictions.” (Dkt. No. 140 at 16; 22-26.) It is beyond genuine

dispute that none of these incidents constitutes an adverse employment action.

       As the Court explained in a prior decision in this case, a “negative mark on [Quadir’s]

record indicating insubordination” is not, alone, “enough to constitute a materially adverse

employment action.” Quadir v. N.Y. State Dep’t. of Labor, 39 F. Supp. 3d 528, 541 (S.D.N.Y.

2014); see Henry v. N.Y.C. Health & Hosp. Corp., 18 F. Supp. 3d 396, 407 (S.D.N.Y. 2014)

(“[T]he threat of disciplinary action, without more, does not constitute an adverse employment

action.”); Honey v. Cty. of Rockland, 200 F. Supp. 2d 311, 320-21 (S.D.N.Y. 2002) (“[C]ourts in

this circuit have found that reprimands, threats of disciplinary action and excessive scrutiny do

not constitute adverse employment actions in the absence of other negative results such as a

decrease in pay or being placed on probation.”). As a result, Quadir cannot prevail on his claim

that Department “counseling memos” that detailed negative performance by Quadir but “did not

have any disciplinary sanction associated with [them]” constituted adverse employment actions. 5



5
 Quadir mentions that his record of absences and tardiness is at issue in an ongoing “arbitration
proceeding with the [Department] in which [the Department] used the counseling to support the
notion that Mr. Quadir is not qualified or competent to continue his employment with [the
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(Dkt. No. 140 at 23.) For the same reason, Quadir’s claim that an “annual evaluation” that

included the “false information . . . that he had not monitored the Resource Room” is not an

adverse employment action. (Id. at 24.) Nor is the issuance of an “unsatisfactory” evaluation,

without an accompanying material change in the terms and conditions of Quadir’s employment.

(Id. at 24.)

        Quadir’s remaining arguments are equally without merit. Although he contends that he

was discriminated against when he was denied pay for President’s Day in 2014, he elsewhere

concedes that he was not entitled to receive pay for that day under Department-wide policy.

(Dkt. No. 129 ¶¶ 42, 43.) He argues that the Department discriminated against him when it

denied his request to take leave in order to spend time prosecuting his case against the

Department, but he has made no effort to show that he was entitled to take leave for this purpose.

(Dkt. No. 140 at 25.)

        Finally, he argues that the Department’s decision to place him on “full restrictions” was

an adverse employment action. (Id.) Effective April 22, 2014, the Department placed Quadir on

full restrictions—an administrative regime that required him to provide medical documentation

for all absences. (Dkt. No. 129 ¶ 51-51.) Quadir does not, however, argue that his placement on

full restrictions resulted in his being denied leave to which he was entitled, or that any other

material change in the conditions of his employment resulted. (Dkt. No. 140 at 25-26; see Dkt.

No. 157 at 7.) Placement on full restrictions may have inconvenienced Quadir, but




Department].” (Dkt. No. 140 at 23.) Quadir does not argue that this arbitration proceeding is an
adverse action taken against him and, as a result, the Court declines to consider it as such. Nor is
any possible future adverse action resulting from that ongoing arbitration proceeding within the
scope of the claims asserted in this case.
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inconvenience and scrutiny from management are not, alone, sufficient to constitute an adverse

employment action. Honey, 200 F. Supp. 2d at 320-21.

       Because no rational fact finder could conclude that Quadir suffered an adverse

employment action, the Department is entitled to summary judgment on his discrimination claim.

       C.      Retaliation

       Citing the same Department actions just discussed, Quadir also contends that the

Department retaliated against him for asserting his rights under the Rehabilitation Act.

       The ADA and Rehabilitation Act prohibit employer retaliation against employees who

assert their rights under their terms. See 42 U.S.C. § 12203(a) (“No person shall discriminate

against any individual because such individual . . . made a charge, testified, assisted, or

participated in any manner in an investigation, proceeding, or hearing under this chapter”). To

make out a case for retaliation, a plaintiff must show that “(1) she engaged in an activity

protected by the [Rehabilitation Act]; (2) the employer was aware of this activity; (3) the

employer took an adverse employment action against her; and (4) a causal connection exists

between the alleged adverse action and the protected activity,” that is, the employer acted with a

retaliatory motive. Caskey v. Cty. of Ontario, 560 F. App’x 57, 58 (2d Cir. 2014) (quoting

Treglia v. Town of Manlius, 313 F.3d 713, 719 (2d Cir. 2002) (alterations omitted)); see also

Weixel v. Bd. of Educ. of City of New York, 287 F.3d 138, 148–49 (2d Cir. 2002). “Once a

plaintiff establishes a prima facie case of retaliation, the burden shifts to the defendant to

articulate a legitimate, non-retaliatory reason for the challenged employment decision. If a

defendant meets this burden, ‘the plaintiff must point to evidence that would be sufficient to

permit a rational factfinder to conclude that the employer’s explanation is merely a pretext for




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impermissible retaliation.’” Treglia, 313 F.3d at 721 (quoting Cifra v. General Elec. Co., 252

F.3d 205, 216 (2d Cir. 2001)).

       The standard for an “adverse employment action” in a retaliation claim, however, is not

as demanding as it is in a discrimination claim. See Hicks v. Baines, 593 F.3d 159, 165 (2d Cir.

2010). In the retaliation context, “a plaintiff must show that a reasonable employee would have

found the challenged action materially adverse, which in this context means it well might have

dissuaded a reasonable worker from making or supporting a charge of discrimination.”

Burlington N. & Santa Fe Ry. Co. v. White, 548 U.S. 53, 68 (2006) (citation and internal

quotation marks omitted). Thus, even actions that do not result in a material change in the terms

and conditions of employment may be adverse actions for the purposes of a retaliation claim, so

long as such actions might deter a reasonable employee from engaging in protected activity. See

Hicks, 593 F.3d at 165.

       Even under this less demanding standard, the Court concludes—for substantially the

same reasons discussed above in the context of Quadir’s discrimination claim—that Quadir has

not presented evidence sufficient for a trier of fact to conclude that he suffered an adverse

employment action. The complained-of counseling memos, for example, which note Quadir’s

absenteeism and tardiness issues, are concededly not disciplinary in nature and would not have

deterred a reasonable employee from engaging in protected activity. See Tepperwien v. Entergy

Nuclear Operations, Inc., 663 F.3d 556, 570 (2d Cir. 2011) (“[W]e have held, in the context of

the issuance of a ‘counseling memo,’ that ‘criticism of an employee (which is part of training

and necessary to allow employees to develop, improve and avoid discipline) is not an adverse

employment action.’” (citation omitted)); Ulrich v. Moody’s Corp., No. 13-CV-0008, 2014 WL

4977562, at *13 (S.D.N.Y. Sept. 30, 2014) (“Constructive criticism and evaluation plans are



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generally not adverse actions for purposes of a discrimination or retaliation [claim].” (emphasis

added)). Although the test is an objective one—whether a reasonable employee in Quadir’s

situation would have been deterred—“it is relevant that [Quadir] himself was not deterred from

complaining” and pursuing his accommodation claim. Tepperwien, 663 F.3d at 572. Rather, the

record reflects that Quadir continued to object to the conditions of his employment and assert his

right to reasonable accommodations throughout the period in question. (See e.g., Dkt. No. 129

¶¶ 7, 20, 34, 48.)

        In any event, even if Quadir could establish the elements of a prima facie case for

retaliation, the Department has articulated legitimate, non-retaliatory reasons for each of the

alleged adverse employment actions and Quadir has not offered evidence sufficient to support a

finding that the Department’s reasons are pretextual. For instance, the Department has a

concededly legitimate interest in ensuring that its employees attend work and arrive at work on

time. It follows that the Department’s requirement that Quadir present medical documentation in

support of his absences furthered a legitimate goal, especially given his attendance record. (See

Dkt. No. 129 ¶¶ 51-60.) Indeed, between April 15, 2013, and April 11, 2014, prior to his

placement on “full restrictions,” Quadir was absent 92 days and tardy 145 days. (Dkt. No. 108

¶¶ 54-57; Dkt. No. 107 ¶¶ 26-27.) Quadir was the only employee in the Bronx Career Center to

exhaust his accrued leave. (Dkt. No. 108 ¶ 58.) Moreover, the Department’s efforts to counsel

Quadir on problems with absence and tardiness predate his initial request for an accommodation,

significantly undercutting his contention that he was subject to retaliation. (See Dkt. Nos. 110-2,

110-3, 110-4; Dkt. No. 129 ¶ 53.) Likewise, even if Quadir could show that he was entitled to

take leave in order to pursue his pro se litigation, the Department has plausibly established that it




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rejected Quadir’s request because its operational needs required his presence. (Dkt. No. 106 at

22; Dkt. No. 107 ¶¶ 87-91.)

       Quadir argues that the deposition of his supervisor Atul Sheffey could permit a factfinder

to conclude that the Department acted with retaliatory animus toward him in documenting his

attendance and lateness issues. (Dkt. No. 140 at 18-19.) Sheffey testified that, following a

conversation with Quadir in which he insisted that he would continue to arrive at work late

because his tardiness related to his illness, Sheffrey decided to begin documenting Quadir’s

lateness “by the book” whereas he had previously been lenient in documenting Quadir’s

tardiness. (Dkt. No. 140-20 at 139-142). But Sheffrey’s effort to document Quadir’s lateness

according to protocol can hardly be characterized as proof of retaliatory animus, especially

because Sheffrey testified that he documented virtually every employee’s tardiness “by the

book.” (Id. at 142, 147.)

       The testimony of Andrew Castillo, a colleague of Quadir, likewise fails to create a

genuine issue of material fact as to pretext. (See Dkt. No. 140-20.) Castillo testified that, “at

different times different people [have been] singled out” for scrutiny by management and that

Quadir has at times been singled out for, among other things, writing notes that are “too long” or

allowing customers to wait an excessive amount of time before attending to them. (Id. at 78, 86.)

In Castillo’s view, Quadir’s supervisors act in this way because “they don’t particularly like

[Quadir].” (Id. at 87.) Such speculative and conclusory testimony is insufficient to create a

genuine issue of material fact where the Department has, as here, offered fulsome, non-

retaliatory reasons for the complained-of actions grounded in the evidence before the Court. As

mentioned above, this conclusion is bolstered by the record evidence that the Department’s




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efforts to counsel Quadir on problems with absence and tardiness predate his initial request for

an accommodation.

         Accordingly, the Department is entitled to summary judgement on Quadir’s retaliation

claim.

III.     Conclusion

         For the foregoing reasons, the Department’s motion for summary judgment is

GRANTED.

         The Clerk of Court is directed to close the motion at docket number 105 and to close this

case.

         SO ORDERED.

Dated: June 29, 2016
       New York, New York
                                              ____________________________________
                                                         J. PAUL OETKEN
                                                     United States District Judge




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